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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                          §
    UNITED STATES OF AMERICA                              §
                                                          §
    v.                                                    §          Case No. 22-cr-00612
                                                          §
    MITCHELL HENNESSEY,                                   §
                                                          §
          Defendant.                                      §

                          MITCHELL HENNESSEY’S JOINDER TO
                       MOTION TO EXCLUDE EXTRANEOUS EPISODES

          Mitchell Hennessey, joined by defendants Constantinescu, Matlock, Deel, Hrvatin, and

Cooperman, respectfully files this joinder to Mr. Rybarczyk’s Motion to Exclude Extraneous

Episodes (ECF 408) and requests that the Court limit the government’s presentation of evidence

at trial to evidence pertaining to the 19 securities fraud counts in the superseding indictment.1

          The government states that it intends to introduce evidence at trial regarding the 19

securities fraud counts in the superseding indictment plus an additional 24 stock/time-frame

combinations (“Episodes”) referenced in government exhibits 22 through 45. The government then

“reserves the right to put before the jury additional episodes based on the trial evidence and

arguments made . . . .” See ECF 377 at 7. The Court should not allow the government to present

evidence regarding these additional 24 Episodes or any other “additional episodes” because doing

so would unnecessarily lengthen what is already going to be a very long trial.

          Counts 2 – 20: The government exhibits for Counts 2 through 20 include allegations that

go significantly beyond the allegations in superseding indictment. The government’s expansion



1
  To the extent that the continuance has rendered Mr. Rybarczyk’s Motion moot, Mr. Hennessey
respectfully requests that the Court construe this joinder as a separate motion to exclude the
extraneous episodes.

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beyond the superseding indictment includes an expansion of: (1) the number of defendants

allegedly involved in each count; and (2) the time frame of the alleged conduct.

       First, the government exhibits make clear that the government intends to allege at trial that

more defendants than those named in a count participated in the fraud alleged in the count. For

example, Count 2 names only one defendant, but the government’s exhibits for Count 2 include

trading and social media posts for five of the trial defendants. Similarly, Count 4 names only one

defendant, yet the government’s exhibits for Count 4 include trading data and social media posts

for all seven trial defendants. Below is a chart comparing the number of defendants named in each

count to the number of defendants whose conduct is included in the government’s exhibits.

                            Counts/Government Exhibits 2 – 20
                                       Trial Defendants Allegedly Involved
   Count/
                  Stock        Superseding            Government
  Gov’t Ex.                                                                Difference
                                Indictment              Exhibits
       2          ONTX               1                      5                  +4
       3          SXTC               3                      3                  ---
       4          CBAT               1                      7                  +6
       5          TRCH               3                      7                  +4
       6          VISL               0                      6                  +6
       7           GTT               2                      5                  +3
       8          RGLS               1                      5                  +4
       9          RGLS               1                      5                  +4
      10          SURF               4                      4                  ---
      11          ALZN               3                      7                  +4
      12           UPC               3                      4                  +1
      13          ABVC               1                      2                  +1
      14           CEI               2                      7                  +5
      15          DATS               2                      7                  +5
      16          NAKD               3                      6                  +3
      17          EZFL               3                      6                  +3
      18          MYSZ               1                      7                  +6
      19          PIXY               1                      4                  +3
      20           BBI               1                      6                  +5



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       Second, the government’s exhibits cover time frames beyond the time frames listed in the

superseding indictment. For example, Count 6 charges conduct in “March 2021,” but the

government’s exhibits go back to February 4, 2021. Likewise, Count 14 charges conduct in

“September through October 2021,” but the government’s exhibits cover the time period August

2 through November 3, 2021.

       The chart below shows the time frame and number of days allegedly pertaining to each

count according to the government’s exhibits.

                            Counts/Government Exhibits 2 – 20
    Count/
                    Stock                       Time Frame                        Days
   Gov’t Ex.
       2           ONTX                  July 1 – Aug. 31, 2020                    62
       3           SXTC                 Sept. 10 – Sept. 21, 2020                  12
       4           CBAT                   Jan. 4 – Feb. 26, 2021                   54
       5           TRCH                   Feb. 8 – Mar. 4, 2021                    25
       6           VISL                  Feb. 4 – Mar. 30, 2021                    55
       7            GTT                 Feb. 24 – Mar. 17, 2021                    22
       8           RGLS                  Mar. 4 – Mar. 29, 2021                    26
       9           RGLS                  June 1 – June 30, 2021                    30
      10           SURF                  May 5 – June 15, 2021                     42
      11           ALZN                  June 15 – July 23, 2021                   39
      12            UPC                  July 19 – July 28, 2021                   10
      13           ABVC                  Aug. 3 – Aug. 17, 2021                    15
      14            CEI                  Aug. 2 – Nov. 30, 2021                   121
      15           DATS                  Aug. 13 – Dec. 3, 2021                   113
      16           NAKD                  Sept. 3 – Oct. 29, 2021                   57
      17           EZFL                 Sept. 15 – Oct. 26, 2021                   42
      18           MYSZ                  Oct. 7 – Nov. 30, 2021                    55
      19           PIXY                 Mar. 25 – Apr. 13, 2022                    20
      20            BBI                 Apr. 11 – Apr. 25, 2022                    15
                                                                    Total       815 Days

       Government Exhibits 22 – 45: The government states that it intends to introduce evidence

at trial related to an additional 24 Episodes referenced in the Government Exhibits 22 through 45.



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See ECF 377 at 7. These additional government exhibits include time frames that comprise a

combined total of 578 days and involve multiple trial defendants as demonstrated in the chart

below.

                                  Government Exhibits 22 – 45
                                                                           Trial Defendants
 Gov’t Ex.       Stock              Time Frame                  Days
                                                                           Allegedly Involved
     22         AEMD           Sept. 15 – Oct. 5, 2021         21                  3
     23         AERC          Mar. 15 – Mar. 22, 2022           8                  2
     24         AIHS          Sept. 16 – Sept. 30, 2021        15                  3
     25         AREC            Oct. 2 – Oct. 30, 2020         29                  5
     26         BAOS           Apr. 13 – May 2, 2022           20                  5
     27         BBLG            Jan. 4 – Jan. 28, 2022         25                  3
     28         CNTX          Oct. 20 – Dec. 21, 2021          63                  7
     29         FCEL            Oct. 4 – Oct. 22, 2021         19                  6
     30         HCWB           Oct. 15 – Oct. 22, 2021          8                  4
     31         METX            Oct. 12 – Dec. 6, 2021         56                  6
     32          MFH          Mar. 18 – Mar. 24, 2021           7                  5
     33         MITQ           July 22 – Aug. 4, 2021          14                  3
     34         ONTX           Feb. 1 – Mar. 19, 2021          47                  6
     35         SFET           Aug. 3 – Aug. 17, 2021          15                  3
     36         SNOA           Apr. 26 – May 6, 2021           11                  4
     37         STAF           June 21 – Aug. 3, 2021          44                  5
     38         SUPV            Jan. 29 – Mar. 9, 2021         40                  4
     39         SURG           Nov. 8 – Nov. 12, 2021           5                  5
     40         SXTC           July 13 – July 27, 2021         15                  5
     41         VRPX           June 30 – July 23, 2021         24                  5
     42         VTVT          July 13 – Aug. 25, 2020          44                  4
     43         XRTX           Nov. 1 – Nov. 12, 2021          12                  7
     44          YVR          Aug. 26 – Sept. 14, 2021         20                  3
     45         ZSAN           Mar. 21 – Apr. 5, 2022          16                  3
                                                      Total 578 Days

         The Court should limit the government’s presentation of evidence to the 19 securities fraud

counts alleged in the superseding incitement to avoid unnecessarily lengthening the trial. Not only

will counsel for each of the defendants listed in the government’s exhibits need to cross examine


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the government’s witnesses, but each defendant will also likely call an expert and possibly other

witnesses to rebut the government’s exhibits. A trial on the 21 counts in the superseding

indictment, with seven defendants at trial, will already be a very lengthy trial. Adding 24 stocks

with a combined time frame of 578 days would likely extend the trial by at least a month and result

in cumulative and duplicative presentation of evidence.

       Mr. Hennessey, therefore, respectfully requests that the Court limit the government’s

presentation of evidence at trial to evidence pertaining to the 19 securities fraud counts in the

superseding indictment.

                                             Respectfully submitted,


                                             JACKSON WALKER LLP

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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 11, 2023, a true and correct copy of the foregoing was
served electronically on all persons via the Court’s CM/ECF system.

                                            /s/ Laura M. Kidd Cordova
                                            Laura M. Kidd Cordova




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